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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: September 01, 2021.

                                                              __________________________________
                                                                        TONY M. DAVIS
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________

                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION

  IN RE:                                           §
                                                   §
  ALLAN L. REAGAN,                                 §           CASE NO. 20-11161-TMD
      Debtor                                       §           CHAPTER 11


                   AGREED ORDER REGARDING DEBTOR’S OBJECTION TO
                      CLAIM NO. 10 OF VILLAGE @ LA ORILLA, LLC

           CAME ON FOR CONSIDERATION the Debtor’s Objection to Claim No. 10, as amended,

  filed by Village @ La Orilla, LLC (the “Claim”). As evidenced by the signature of counsel below,

  the parties have agreed upon a resolution of the objection. Accordingly, it is

           ORDERED that the Claim is allowed as a Class 3 general unsecured claim in the amount

  of $1,770,686.33. The Claim is otherwise disallowed.

                                                 ###




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  AGREED:

  WALLER LANSDEN DORTCH & DAVIS, LLP


  By: /s/ Mark C. Taylor________________________________________
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  ATTORNEYS FOR DEBTOR AND
  DEBTOR IN POSSESSION


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  ATTORNEYS FOR VILLAGE @ LA ORILLA, LLC




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